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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 19-cr-00098-CMA

UNITED STATES OF AMERICA,

        Plaintiff,

v.

LEONARD LUTON,

        Defendant.


                                      INDICTMENT



The Grand Jury charges:

                                      COUNTS 1-5

     1. From in or about February of 2018 through January 22, 2019, in the State and

District of Colorado and elsewhere, the defendant LEONARD LUTON, and others

known and unknown to the grand jury, devised and intended to devise, and participated

in a scheme and artifice to defraud victim S.O., whose identity is known to the grand

jury, by obtaining property, to wit, approximately $900,000 in United States currency, by

means of false and fraudulent pretenses, representations, and promises relating to a

lottery scheme and artifice to defraud (hereinafter “lottery scheme”).

     2. The object of the lottery scheme was for LEONARD LUTON and his associates

to enrich themselves by fraudulently convincing S.O. that she had won a lottery and

needed to make certain payments in order to collect the winnings. These payments

were routed through others to LEONARD LUTON and his associates.


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    3. As part of the lottery scheme, LEONARD LUTON and his associates contacted

and caused to be contacted S.O. by mailing her a flyer indicating she won $2,800,000

from a lottery drawing in Spain. The flyer informed S.O. that she was required to remit

5% of the total amount of the winnings to a promotional company in order to receive her

winnings.

    4. As part of the lottery scheme, LEONARD LUTON and his associates contacted

and caused to be contacted S.O. by telephone. One of the individuals who called S.O.

identified himself as Frank White.

    5. White directed S.O. to pay the fees she owed in various ways, to include

mailing via private and commercial interstate carriers, such as the United Parcel Service

(UPS) and Federal Express (FedEx), cashier’s checks and packages containing cash.

As part of the scheme, White also directed S.O. to mail iPhones. White directed S.O. to

mail the packages of cashier’s checks, cash, and iPhones to addresses to which

LEONARD LUTON and his associates had access.

    6. S.O. mailed approximately 45 such packages. She also handed over

$65,000 in person, which White told her was required to pay the fees related to the

lottery scheme.

    7. S.O. never received any lottery winnings.

                        Executions of the Mail Fraud Scheme

    8. Between on or about the dates listed below for each count, in the State and

District of Colorado, LEONARD LUTON, for the purpose of executing the lottery

scheme, knowingly caused and aided and abetted another who knowingly caused to be

delivered by private and commercial interstate carriers matters and things, namely,



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cashier’s checks, cash, and iPhones, according to the direction thereon, as identified

below:



    Count        Date                   Description of Mailing
                 (on or about)

    1            April 16, 2018         $45,000 mailed to S.P. in Grandville, MI

    2            September 6, 2018      $10,000 mailed to M.W. in Toms River, NJ

    3            October 22, 2018       Two iPhones mailed to J.A. in Brooklyn, NY

    4            October 30, 2018       Two iPhones mailed to J.A. in Brooklyn, NY

    5            November 7, 2018       $15,000 mailed to T.W. in Brooklyn, NY



           All in violation of Title 18, United States Code, Sections 1341 and 2.


                                          FORFEITURE

        9. Upon conviction of the violations alleged in Counts 1 through 5 of this

Indictment involving a mail fraud scheme, in violation of Title 18, United States Code,

Sections 1341 and 2, Defendant LEONARD LUTON shall forfeit to the United States,

pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c), any and all of his right, title, and interest in all property

constituting and derived from any proceeds he obtained directly and indirectly as a

result of such scheme, including, but not limited to:

        10. The entry of a money judgment in the amount of proceeds obtained by the

scheme and by the defendant.




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    11. If any of the property described in paragraph 10 above, as a result of any act or

omission of Defendant LEONARD LUTON:

              a)     cannot be located upon the exercise of due diligence;

              b)     has been transferred or sold to, or deposited with, a third

                     party;

              c)     has been placed beyond the jurisdiction of the Court;

              d)     has been substantially diminished in value; or

              e)     has been commingled with other property which

                     cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 28, United States Code, Section

2461(c), incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of

any other property of Defendant LEONARD LUTON up to the value of the forfeitable

property.

                                              A TRUE BILL



                                              Ink signature on file in Clerk’s Office
                                              Foreperson

JASON R. DUNN
UNITED STATES ATTORNEY

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